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14                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
15                               OAKLAND DIVISION

16
        ONE FAIR WAGE, INC.,                  Case No. 3:21-cv-2695
17                                            The Hon. Edward M. Chen
                 Plaintiff,
18                                            PLAINTIFF’S APPLICATION FOR
           vs.
                                              LEAVE TO FILE A SURREPLY
19
        DARDEN RESTAURANTS, INC.,             BRIEF AND OBJECTION TO
20                                            REPLY EVIDENCE
                 Defendant.
21                                            [Filed concurrently with Plaintiff’s
                                              Proposed Surreply Brief and Proposed
22                                            Order]
23
                                              Hearing Date: August 26, 2021
24
                                              Time: 1:30 p.m.
25
                                              Ctrm.: G – 15th Floor
26
                                              Complaint Filed: April 15, 2021
27
28


                  PLAINTIFF’S MOTION FOR LEAVE TO FILE A SURREPLY BRIEF
                       AND OBJECTION TO REPLY EVIDENCE IN 21-cv-2695
             Case 3:21-cv-02695-EMC Document 24 Filed 08/12/21 Page 2 of 3




 1     APPLICATION FOR LEAVE TO FILE SURREPLY AND OBJECTION TO
                           REPLY EVIDENCE
 2
           Defendant Darden Restaurants, Inc., raises two new arguments in its
 3
     Consolidated Reply Brief in Support of its Motions to Dismiss. (ECF No. 22 at 8–9.)
 4
     Plaintiff One Fair Wage, Inc. (“OFW”) thus requests leave, pursuant to Civil Local
 5
     Rule 7–3, to file the attached short proposed Surreply Brief, solely for the purpose
 6
     of explaining why Darden has waived these two arguments and why the arguments
 7
     are nonetheless without merit. See, e.g., Banks v. Cty. of San Mateo, No. 16-cv-4455,
 8
     2017 WL 3434113, at *1 n.3 (N.D. Cal. Aug. 10, 2017) (granting leave to file surreply
 9
     to address new arguments on reply); GT Nexus, Inc. v. Inttra, Inc., No. 11-cv-2145,
10
     2014 WL 3373088, at *1 (N.D. Cal. July 9, 2014) (same).
11
           Darden also introduces new evidence in its Reply Brief that it did not
12
     introduce in any of its initial motions to dismiss. (ECF No. 23 at Ex. A, B.) Pursuant
13
     to Civil Local Rule 7–3(d)(1), OFW hereby objects to, and moves to strike, this reply
14
     evidence because it constitutes improper “new evidence” that should not have been
15
     introduced for the first time in the Reply Brief. See Willner v. Manpower Inc., No.
16
     11-cv-2846, 2013 WL 3339443, at *3 (N.D. Cal. July 1, 2013) (disregarding evidence
17
     first introduced in a reply). In the alternative, if this Court concludes that Darden’s
18
     arguments are not waived and that this evidence was properly introduced in the
19
     Reply Brief, OFW requests that this Court at very least delay resolution of the
20
     matter to permit OFW to introduce its own rebuttal evidence and file a more
21
     detailed surreply brief.
22
           Defendant’s position. On August 11, 2021, Plaintiff’s counsel contacted
23
     Defendant’s counsel to notify them of this application and inquire whether
24
     Defendant would oppose the request to file a surreply brief. Defendant responded
25
     on August 12 that it opposes Plaintiff’s request. To aid in the Court’s consideration
26
27
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                   PLAINTIFF’S MOTION FOR LEAVE TO FILE A SURREPLY BRIEF
                        AND OBJECTION TO REPLY EVIDENCE IN 21-cv-2695
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 1   of this request, the full email exchange of August 11–12 is included as an
 2   attachment to this Application.
 3
 4                                        Respectfully submitted,
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                        AND OBJECTION TO REPLY EVIDENCE IN 21-cv-2695
